Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 1 of 6




                                                                           FILED
                                                                   U.S. DISTRICT COURT
                                                                 DISTRICT OF MARYLAND
                                                                       12/10/2020
                                                                      CLERK’S OFFICE
                                                                      AT GREENBELT
                                                                 BY __DG__, DEPUTY CLERK
Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 2 of 6
Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 3 of 6
Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 4 of 6
Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 5 of 6
Case 8:20-cr-00033-TDC Document 141 Filed 12/10/20 Page 6 of 6
